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Exhibit 3

Projected 17 year sales for Martini’s inside venue
| Year | Sales COGS Payroll Rent Utilities Advertising | Entertainment | Misc Net Income
2024 $ 1,677,060.00 $ 503,118.00 $ 417,650.00 $ 78,129.98 $ 49,172.72 $ 30,000.00 $ 200,000.00 S$ 138,915.00 $ 260,074.30
2025 $ 1,844,766.00 $ 553,429.00 $ 461,191.50 $ 80,473.88 5S 50,647.90 $ 30,000.00 $ 200,000.00 § 145,860.75 $ 323,163.00
2026 $ 2,029,242.60 $ 608,772.78 $ 507,310.72 $ 82,888.10 $ 52,167.33 $ 30,000.00 $ 200,000.00 $ 153,153.79 $ 394,949.88
2027 $ 2,232,166.86 $ 669,650.08 $ 558,041.71 $ 85,374.74 $ 53,732.35 $ 30,000.00 $ 200,000.00 $ 160,811.48 $ 474,556.50
“2028 S 2,455,383.55 $ 736,614.00 $ 613,846.00 S$ 87,935.98 S$ 55,344.32 $ 30,000.00 $ 200,000.00 $ 168,852.05 $ 562,791.19
2029 § 2,700,921.90 $ 810,276.57 5 675,230.75 $ 90,574.06 $ 57,004.65 $ 30,000.00 $ 200,000.00 $ 177,294.65 $ 660,541.21
come § 2,971,014.09 $ 891,304.27 $ 742,753.00 $ 93,291.28 $ 58,714.79 $ 30,000.00 § 200,000.00 $ 186,159.39 $ 768,791.36
p20at S 3,268,115.50 $ 980,434.65 $ 817,028.87 $ 96,090.02 $ 60,476.24 $ 30,000.00 S 200,000.00 $ 195,467.36 $ 888,618.37
2032 $ 3,594,927.05 $ 1,078,478.10 $ 898,731.75 $ 98,972.72 $ 62,290.52 $ 30,000.00 $ 200,000.00 $ 205,240.72 § 1,021,213:22
192033 $ 3,954,419.75 S 1,186,325.92 S 988,604.93 $ 101,941.90 $ 64,159.24 $ 30,000.00 $ 200,000.00 $ 215,502.76 $ 1,167,885.00
2034 $ 4,349,861.73 $ 1,304,958.52 $§ 1,087,465.43 $ 105,000.16 $ 66,084.02 $ 30,000.00 $ 200,000.00 § 226,277.90 $  1,330,075.71
$2035 § 4,784,847.90 $ 1,435,454.37 $ = 1,196,211.98 § 108,150.17 $ 68,066.54 § 30,000.00 $ 200,000.00 § 237,591.79 $ 1,509,373.06
©2036 $ 5,263,332.69 $ 1,578,999.81 $ 1,315,833.00 § 111,394.67 $ 70,108.53 $ 30,000.00 $ 200,000.00 $ 249,471.38 S  4,707,525.29
© 2037 $ 5,789,665.96 $ 1,736,899.50 $ 1,447,416.25 § 114,736.51 $ 72,211.79 § 30,000.00 $ 200,000.00 $ 261,944.95 §  1,926,456.96
iL 2038 §  6,368,632.56 $ 1,910,589.00 § 1,592,158.14 $ 118,178.61 $ 74,378.14 $ 30,000.00 $ 200,000.00 § 275,042.20 $ 2,168,286.47
+ 2039 S$  7,005,495.82 S 2,101,648.75 $ 1,751,374.00 $ 121,723.96 $ 76,609.49 $ 30,000.00 S 200,000.00 $ 288,794.31 $ 2,435,345.31
' 2040 S$ 7,706,045.40 S 2,311,813.62 $ 1,926,511.35 $ 125,375.68 $ 78,907.77 $ 30,000.00 S 200,000.00 $ 303,234.02 $ 2,730,202.95
S 67,995,899.36 S 20,398,766.94 § 16,997,359.38 $ 1,700,232.43 § 1,070,076.35 $ 510,000.00 § 3,400,000.00 $ 3,589,614.49 § 20,329,849.78

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